Case 2:22-cv-09094-GW-MAR Document 624 Filed 08/31/23 Page 1 of 3 Page ID #:19000




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      Attorneys for Plaintiff and Counter-Defendant,
   16 MOOG INC.
   17
                                   UNITED STATES DISTRICT COURT
   18
                                 CENTRAL DISTRICT OF CALIFORNIA
   19
   20 MOOG INC.,                                  Case No. 2:22-cv-09094-GW-MAR
   21                     Plaintiff,              NOTICE OF LODGING OF USB
                                                  DRIVE CONTAINING EXHIBITS 2
   22            v.                               AND A TO MOOG’S AMENDED
                                                  TRADE SECRET
   23 SKYRYSE, INC., ROBERT ALIN                  IDENTIFICATION (PROPOSED
      PILKINGTON, MISOOK KIM, and                 TO BE FILED UNDER SEAL IN
   24 DOES NOS. 1-50,                             THEIR ENTIRETY PURSUANT TO
                                                  L.R. 79-5.2)
   25                     Defendant.
                                                  Judge: Hon. George H. Wu
   26                                             Magistrate Judge: Hon. Margo A.
                                                  Rocconi
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                                                -1-             Case No. 2:22-cv-09094-GW-MAR
        SMRH:4861-6972-7613                                               NOTICE OF LODGING
Case 2:22-cv-09094-GW-MAR Document 624 Filed 08/31/23 Page 2 of 3 Page ID #:19001




    1
        SKYRYSE, INC.,,
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                          Counterclaimant,
    3
                 v.
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        MOOG INC.,
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                          Counter-Defendant.
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        SMRH:4861-6972-7613                                           NOTICE OF LODGING
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Case 2:22-cv-09094-GW-MAR Document 624 Filed 08/31/23 Page 3 of 3 Page ID #:19002




    1           TO THE ABOVE CAPTIONED COURT, AND TO ALL PARTIES
    2 AND THEIR ATTORNEYS OF RECORD:
    3           Pursuant to Local Rule 5-4.2, the following items are exempt from electronic
    4 filing, and therefore will be manually lodged with the Court:
    5           1.       Encrypted USB Drive containing Exhibit 2 and Exhibit A to Plaintiff
    6                    Moog Inc.’s (“Moog”) Amended Trade Secret Identification (proposed
    7                    to be filed under seal in their entirety pursuant to L.R. 79-5.2).
    8           Good cause exists to manually lodge the above referenced items since the
    9 above-referenced Exhibits consist of large, multi-tab excel spreadsheets containing
   10 too much data to convert to a comprehensible usable format conducive to standard
   11 e-filing using the Court’s ECF system.
   12
   13 Dated: August 31, 2023
   14                                     Respectfully submitted,
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                                          SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
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                                          By:                    /s/ Kazim A. Naqvi
   18
                                                                 KAZIM A. NAQVI
   19
   20                                              Attorneys for Plaintiff and Counter-Defendant,
                                                                   MOOG, INC.
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        SMRH:4861-6972-7613                                                        NOTICE OF LODGING
